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                           IN TH E U NITED STA TES D ISTR ICT C O URT
                               SOUTHERN DISTRICT OF FLORIDA
                                       Case N o.:17-cv-60426-UU

    A LEK SEJ G UBA REV, XBT HO LD IN G              S.A .,
    AN D W EBZILLA ,IN C.

       Plaintiffs,

    V S.

    BUZZFEED,INC .AN D BEN SM ITH,

      Defendants.

           AM ENDED CO NFIDENTIALITY STIPULATION AND PR O TECTIVE OR DER

            W H ER EA S,the parties are engaged in disclosure and discovery w hich m ay involve,

    am ong otherthings,the production ofdoeum ents and inform ation deem ed confidential,including

    tradesecretsand otherconfidentialresearch,development,technical,orcommercialinformation,

    and personalinform ation ofparties and third parties;

            W HEREAS,thepartiesbelievethatentryofaprotectiveorderpursuanttoRule26(c)of
    the Federal Rules of Civil Procedure is necessary to protect such trade secrets and other

    confidentialresearch,development,technical,orcommercialinformationpersonalinformation of

    partiesand third partiesthatmay be produced orprovided by the partiesornon-parties,and the

    partieshave stipulated to the follow ing proposed protective order;

            W H EREAS,thepartiesdesireto facilitate theprocessofdisclosure and discovery whileat

    the sam e tim e adequately and reasonably protecting the confidentiality of such docum ents and
    inform ation,and w ithoutburdening the Courtw ith unnecessary procedurallitigation;and

            W H EREASSgood cause appearsto existforentry ofa protective orderofconfidentiality;

    now ,therefore,
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           IT IS H EREBY STIPU LA TED AN D AG REED,by and am ong the partiesthrough their

    undersigned attorneys,as follows:

                    This Protective Order shall be applicable to and govern aI1 depositions,

    documents produced in response to requests for production of documents, answers to

    interrogatories,responsesto requestsforadmission,and a1lotherdiscoverytaken pursuanttothe

    FederalRules of Civil Procedure,as w ell as other inform ation hereafter furnished, directly or

    indirectly,byoron behalfofanypartyornon-partyinconncctionwiththisaction(collectively,
    biDiscovery Materials'').Discovery Materialsthatare,in good faith,designated Confidentialor
    Attorneys'Eyes Only as provided herein shallbe used by any authorized recipients solely forthe

    purposes of conducting this Iitigation and not for any other purpose whatsoever, and such

    inform ation shall not be disclosed to anyone except as provided herein unless and until such
    designation is challenged and reversed by the Coul'tas provided forherein. I

           2.     The term dsproducing party''m eansthe party ornon-party designating documentsor

    inform ation asConfsdentialorAttorneys'EyesO nly lnform ation underthisProtective Order.

           3.     The term b'receiving party'' means each party to w hom the Confidential or

    Attorncys'Eyes Only lnform ation isdisclosed.

                  The producing party m ay,in good faith,designate as ddconfidentialInform ation''

    any business,proprietary,orpersonalinformation contained in D iscovery M aterialand any other

    non-publicorsensitiveinformationofthepartiesandtheiraffiliates(including,bywayofexample
    and notlim itation,unpublished information generated orgathered in thecourse ofnews gathering

    andreportinginformation)bymarking,orotherwiserequestingthatsuch inform ationbetreatedas


    lThisProtective Orderdoesnotapply to hearingsortrialbefore the Court. The parties,any party
    in interest,and/or the w itnesses,can m ove the Courtto sealany court proceeding for reasons
    consistentw ith this Protective Order.
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    Confidential. The producing party m ay, in good faith,designate as itAttorneys' Eyes Only

    Inform ation'' any highly confsdential inform ation or personal inform ation, including but not

    lim ited to highlysensitivetechnicalinform ation,Gnancialinform ation,and any inform ation thatis

    so com m ercially or personally sensitive that disclosure to the opposing party is likely to cause

    competitive or personal harm to the producing party. This category also includes material

    designated Attorneys'EyesOnly beforetheentry ofthisAm ended Confidentiality Stipulation and

    Protective Order.

                  ConfidentiallnformationandAttorneys'EyesOnlyInformationshallbesubjectto
    the term s,conditions and restrictionsofthisConfidentiality Stipulation and Protective O rder.

                  Confidentiallnform ation shallnotbe delivered,disclosed or dissem inated except

    to the follow ing persons:

           (a)    counselforany party inthisaction,includingattorneysofrecord orofcounseltoa
                  party and in-housecounsel,theirpartnersand associate attorneys.and any Iitigation

                  assistant,paralegal,stenographic secretarialorclericalpersonnelassisting counsel

                  in this action;

           (b)    aparty,including inthecaseofcorporateparties,theirdirectorsandofficers,and
                  em ployeesdesignated to assistcounselin thisaction;

                  expertsw ho are assisting counselin the preparation ofthisaction and w ho are not

                  tm ployees of the defendant, including their assistants and stenographical,

                  secretarialorclericalpersonnel;

                  w itnessesand deponentsin thisaction w ho are shown the ConfidentialInformation

                  whiletestifying'
                                 ,




                                                   3
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          (e)     theauthor,custodian,orany individualidentified asarecipientoftheDiscovery
                  M aterial, or the original source of the inform ation, who executes an

                  acknowledgem entin substantially the form attached hereto asExhibitA assetforth

                  in Paragraph 10;

                  courtpersonneland any courtreporterortypistrecording ortranscribing testimony;

           (g)    any shorthand orcourtreportersorvideographersretained to reporta deponent's
                  testim ony taken in thiscase;and

                  any otherperson whom thc parties agree,in advance and in writing,m ay receive

                  such protected inform ation,provided such person hasexecuted the N otification of

                  Protective O rderattached hereto asExhibitA .

                  A ttorneys'EyesO nly Inform ation shallnotbedelivered,disclosed ordissem inated

    exceptto the follow ing persons:

           (a)    counselforany partyinthisaction,including attorneysofrecord orofcounseltoa
                  party and in-housecounsel,theirpartnersand associateattorneys,and any litigation

                  assistant,paralegal,stenographic secretarialorclericalpersonnelassisting counsel

                  in thisaction'
                               ,

                  expertsw ho are assisting counselin the preparation ofthisaction and w ho are not

                  em ployees of the defendant, inclnding their assistants and stenographicals

                  secretarialor clericalpersonnel,where the Attorneys'Eyes O nly lnform ation is

                  relevantto theirareaofexpertassistance;

           (c)    witnessesand deponents in thisaction who are shown the Attorneys'Eyes Only
                  lnform ation w hile testifying;




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          (d)    theauthor,custodian,orany individualidentified asarecipientoftheDiscovery
                 M aterial, or the original source of the inform ation, who executes an

                 acknow ledgem entin substantially the form attached hereto asExhibitA assetforth

                 in Paragraph l0;

                 coul'tpersonneland any courtreporterortypistrecording ortranscribing testim ony;

          (9     anyshorthandorcourtreportersorvideographersretainedtoreportadeponent's
                 testim ony taken in thiscase;and

          (g)    any otherperson whom the partiesagree,in advance and in writing,may receive
   such protected inform ation,provided such person hasexecuted the N otification   of Protective

   Orderattached hereto as ExhibitA .

          8.     Persons w ho receive Confidential and/or Attorneys' Eyes Only lnform ation

   pursuantto Paragraphs 6(c-h)and 7(b-g) shallbe provided by the party disseminating such
   inform ation w ith a copy ofthisOrderand shallexecute an acknow ledgem ent,in substantially the

   form attached hereto asExhibitA ,thatthey havereview ed such Orderand agree to bebound by it,

   w ith a copy ofsuch acknow ledgem entprovided to allparties.

                 A lID iscovery M aterialand alItranscriptsof testim ony and copies of Court-filed

   papers consisting of or containing Confidentialand/or Attorneys'Eyes Only lnformation,and

   sum m aries,descriptionsorreportsregarding the contentsthereof,shallbe keptatalltim esonly in

   thtcustody ofcounselofrecord forthe party,exceptw hen btingused by otherpersonspursuantto

   Paragraphs6 and 7.

                 Allpleadings.m otion papers,m em oranda,afsdavits,exhibits,transcriptsand other

   papers thatconsistofor contain Confidentialand/orAttorneys'Eyes Only Inform ation shall,if

   filed w ith the Court,be placed in a sealed envelope endorsed w ith the caption ofthe action and



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   marked or designated with the legend; CICON FIDEN TIA L M A TERIA L PURSUA NT TO

   CO URT ORD ER IN A LEK SEJ G UBA REV,ET A L.V .BU ZZFEED ,lN C.,ET A L.,Case No.

    17-CV-60426-U U,Dated              -   ,   20- .'' W here possible,only the confsdentialportions of

   filingswith the Courtshallbe filed underseal.

           l1.    Counselfor either party may designate as Confidentialand/or Attorneys'Eyes

   Only lnform ation thatpartofadeposition transcriptthatdisclosesordiscussesConfidentialand/or

   Attorneys' Eyes Only lnform ation, by m aking a statem ent to that effect for inclusion in the

   deposition transcriptatorpriorto the conclusion ofa deposition,provided,how ever,thatifsuch

   deposition isnotconcluded in one day,such designation isto be m ade atorpriorto the conclusion

   ofthesession atwhich theConfidentialand/orAttorneys'EyesOnly lnformation w asdisclosed or

   discussed. Those portions ofa deposition transcriptthat are designated as Confidentialand/or

   Attorneys' Eyes Only pursuant hereto shall be bound separately and stam ped d'Confidential

    lnform ation''or ûdAttorneys' Eyes Only Inform ation,''and,if filed w ith the court,shallbe filed

    separately and under seal. The deponent shall be instructed that he m ay not disclose any

   Confidentialand/orA ttorneys'EyesOnly lnform ation. Confidentialand/orAttorneys'EyesOnly

    lnform ation shallnotbe leftin the possession ofdeponents.

                  A pal'
                       ty m ay exclude from a deposition any person who is not entitled to have

   accessConfidentialand/orAttorneys'EyesOnlyInformationwhensuchinformationisthesubject
   ofexam ination.

                  W ithin thirty (30) days afterthe designation of any materialor infonmation as
    Confidentialand/orAttorneys'EyesOnly lnform ation,any party shallhave the rightto challenge

    such designation in w riting,stating w ith specificity the docum ent,deposition transcript,other

    materialorportion thereofw hich the challenging party believeshasbeen im properly designated as



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   confidential,and stating w ith specificity the reasons for such challenge. The designating party

   shallhave sfteen (15) days from the receipt of such notice to seek an order from the court
   upholding the designation as Confidentialand/orAttorneys'Eyes Only lnformation. Ifsuch

   application to the Courtis made,the materialchallenged as notbeing properly classified shall

   remain Confidentialand/orAttorneys'EyesOnly lnformationuntilthcre isa ruling by theCourt

   onsaidapplication.AnyfailuretoobjecttoanymaterialbeingdesignatedasConfidentialand/or
   Attorneys'EyesOnly Inform ation shallnotbe construed asan adm ission by any non-designating

   party thatthe m aterialconstitutes orcontainsa trade secretorotherconfidentialinform ation. In

   reviewing a designation of Confidentiality and/or Attorneys' Eyes O nly, there shall be no

   presum ption by the Courtthat m aterials are Confidentialand/or Attorneys' Eyes Only simply

   because a Party hasso designated the m aterials. A party cannotm ake confidentialthatwhich the

   law doesnotrecognize as confidential,sim ply by designating itassuch.

          l4. Upon fsnalterminationofthisaction,thereceivingpartiesshallwithin sixty(60)
   days assem ble and return to the producing party all docum entary m aterial or m em oranda

   em bodying Confidentialand/or Attorneys' Eyes Only lnform ation,including allcopies of such

   m em oranda ordocum entary m aterialwhich m ay have been m ade,butnotincluding any notes or

   other attorney's work product that m ay have been placed thereon by counsel.Receipt of such

   documentary m aterialshallbeacknowledged in w riting.A sto any copiesofconfidentialmaterials

   claim ed to contain attorney'swork product,they shallbe destroyed by the receiving party w ithin

   sixty (60)daysofthefinalterminationofthisaction.In lieuofreturning such Confidentialand/or
   Attorneys'Eyes O nly lnform ation,a Party m ay perm anently delete ordestroy allsuch copies of

   such Confidentialand/orAttorneys'Eyes Only lnform ation and provide the producing Party w ith

   an affidavitattesting to having done so.
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          15.    The provisions of this Confidentiality Stipulation and Protective O rder shall

   survive the conclusion ofthis action. Nothing contained herein shallconstitute a w aiverof the

   rightto assertanyobjectionto adiscoveryrequest;norshallanythingcontainedherein prevent
   disclosure beyond the term s of this Confidentiality Stipulation and Protective Order if the

   producingpartyconsentsinwritingtosuchdisclosure,orlimitorprejudicetherightofanyparty,
   afterreasonable attem ptsto resolve the dispute inform ally and thereafteron 10 dayspriorwritten

   notice,to seek a Courtorderbroadening orrestricting the rightsofaccessto oruse ofConfidential

   and/or Attorneys' Eyes O nly lnform ation, or for other m odifications of this Confidentiality

   Stipulation and Protective Order.

          l6.    Any party or person receiving Confidential and/or A ttorneys' Eyes Only

   Inform ation covered by this Agreem ent that receives a subpoena,request from a governm ent

   agencyorcommittee,orbecomessubjecttoanorderforproductionordisclosureofConfidential
   and/orAttorneys'EyesOnlyInformationshall,withintwo(2)daysofreceiptthereof,givewritten
   notice by facsim ile orelectronic transm ission to the source ofthe Confidentialand/orA ttorneys'

   Eyes Only lnform ation identifying the inform ation sought and attaching a copy of the order,

   subpoenasgovernm ent agency or comm ittee request,or other legally-m andated request. The

   person subjectto the subpoena,requestororderofany court,arbitrator,attorney,government
   agency orlike entity shallnotproduce ordisclosetherequested inform ation w ithoutconsentofthe

   sourceoftheinformationoruntilordered byacourtofcompetentjurisdictiontodoso,provided
   thatthe source m akesa m otion orotherapplication forrelieffrom the subpoenaorotherrequestin

   theappropriateforum,within ten (10)daysofbeingprovidedwith noticepursuanttothissection.
                 lf a party's production ofdocum ents inadvertently includes privileged docum ents

   ordocum ents containing privileged inform ation,such party's inadvertentproduction ofany such



                                                  8
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   docum entsw illnotconstitute aw aiverofprivilege. Upon being advised by theproducing party or

   itscounselthata particulardocum entorclassofdocum entshasbeen inadvertently produced and is

   claim ed to be privileged or to contain privileged inform ation,the receiving party w illprom ptly

   takereasonablestepsto locateand return ordestroyallcopiesofany suchdocument(withthe
   producing party bearing the reasonable costsofsuch locating and return ordestruction,including

   any reasonable database modification costs) and any such document shall,in any event,not
   thereafterbe used forany purpose,unlessadjudicated notto be privileged. Nothing in this
   paragraph shallalterany attorney's responsibilities underapplicable law orcodes ofethicsw hen

   confronted w ith inadvertently produced privileged inform ation ordocum ents.

            l8.   The provisions of this Order shall not apply to any docum ent or inform ation

   obtained by any party from any source other than the parties to this action or their agents or

   counsel,orfrom non-partiespursuantto notice orsubpoena herein;norshallthe provisionsofthis

   Orderapply to any publicly available docum entsorotherinformation.

            19.   N one ofthe provisionsofthisOrderw illpreventany ofthe partiesfrom seeking to

   introduce into evidence at any trial of this case any of the documents which m ay have been

   designatedasConfidentialand/orAttorneys'EyesOnlylnformation,subjecttotherulingsofthe
   Court.

            20.   N othing herein shallpreventany party ornon-party from seeking additionalrelief

   from the Coul'tnotspecified in this Protective Order,orfrom applying to the Courtforfurtheror

   additionalprotective orders.

                  Nothing contained in this Protective O rder shallaffect the right of any party to

   make any objection,claim any privilege,orotherwise contestany requestforproduction of
   docum ents,interrogatory,requestforadm ission,subpoena,orquestion ata deposition orto seek
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   further relief or protective order from the Court as perm itted by the Federal Rules of Civil

    Procedure.N othing in thisProtectiveOrdershallconstitute an adm ission orwaiverofany claim or

    defense by any party.
           22.    lf a party inadvertently fails to designate D iscovery M aterials, it shall not be

    deem ed a waiverin whole or in partofa party's claim ofconfidentiality,either asto the specitsc

    inform ation disclosed or as to any other inform ation relating thereto or on the same or related

    subjectmatter.Assoonasthereceivingpartyisnotifiedinwritingoftheinadvertentproduction,
    the information m ustbe treated asifithad been tim ely designated underthisProtective Order,and

    the receiving party m ust endeavor in good faith to obtain allcopies of the docum entw hich it

    distributed ordisclosed to personsnotauthorized to accesssuch inform ation,aswellasany copies

    m ade by such persons.

           23. ThisProtectiveOrdershallnotbeconstruedtoapplytoanyinformationthat:(a)is
    available to the public other than through a breach of this Protective O rder or other duty of

    confidentiality;(b)areceivingpartycan demonstratewasalready knowntothepartyatthetimeof
    disclosure and was notsubjectto conditions ofconfidentiality;or(c)a receiving party can
    dem onstrate wasdeveloped by thatparty independently ofany disclosure by a designating party or

    non-party.

           24.     The parties agree thatafterthisOrder issigned by allparties,itshallbe subm itted

    to the court for approvaland that all parties take all steps necessary to obtain that approval;

    how ever,the parties hereby agree among them selvesthatthe provisionsofthis Ordershall,to the

    fullestextentpossible,become effective im m ediately uponthe signing ofthisOrderby allcounsel

    and priorto the approvalofthisO rderby the Court.
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          25.     Each party m ay propose m odifications to this O rder by further agreem ent of

   counselifcircum stances warrantor,for good cause show n,may seek to m odify this Orderupon

   m otion m ade to the court.


    BOSTON LAW G RO UP,PC                                   BLACK , SREBN ICK , KORN SPAN           &
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    New ton Centre,M assachusetts 02459                     20l South Biscayne Boulevard
    Tel:(617)928-1806                                       Suite l300
    Fax:(617)928-1802                                       M iam i,FL 3313l
                                                            Tel:(305)371-6421
    By: /s/M atthew Shayefar                                Fax:(305)371-6322
       M atthew Shayefar
        ValentinD.Gurvits(admittedprohacvice)               By:/s/Jared Lopez
                                                                 Roy Black
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                                                            A dam Lazier
    Brady J.Cobb                                            (admittedpro hacvice)
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    CounselforPlaintfh                                      CounselforDefendants



          DONz
             E Gand ORD,
             z         ERED
                        20l7. ln          chambers at Mia , F/,rid , his
                                                                   ./                   day of
                                                                  l.




                                                     Unie     ate M agistrate Judge




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                                         ExhibitA
                         IN THE UN ITED STATES DISTR ICT C OU RT
                            SO UTH ER N DISTRICT O F FLOR IDA
                                  CaseN o.:17-cv-60426-UU

   ALEK SEJ GUBAREV , X BT H OLD IN G
   AN D W EBZILLA ,IN C.

      Plaintiffs,

    VS.

    BUZZFEED ,IN C.AN D BEN SM ITH ,

      Defendants.



           1,                                hereby acknowledge thatasa condition ofbeing given

    accessto Confidentiallnform ation,as these term s are defsned in the Confidentiality Stipulation

    and Protective Orderin effectin thisaction,lam required to agreetocertain restrictionson any use

    of such Confidential lnform ation; that such Confsdential lnform ation is governed by the

    Confidentiality Stipulation and Protective Order,which I have read; and I hereby agree to be

    bound by the terms of that Confidentiality Stipulation and Protective Order, including any

    penaltiesforbreach of itsconfidentiality provisions.



                                         Signature'
                                                  .

                                         PrintN am e:

                                         Date:
